      Case 1:20-cv-03228-RMP     ECF No. 70     filed 09/10/21     PageID.1143 Page 1 of 4




 1   Carolyn Gilbert, WSBA No. 51285
     Joseph P. Cutler, WSBA No. 37234
 2   Reina Almon-Griffin, WSBA No. 54651
     Jane E. Carmody, WSBA No. 55409
 3   Roxanne Degens, WSBA No. 57351
     Perkins Coie LLP
 4   1201 Third Avenue, Suite 4900
     Seattle, WA 98101-3099
 5   Telephone: 206.359.8000
     Facsimile: 206.359.9000
 6   Email: JCutler@perkinscoie.com
            CarolynGilbert@perkinscoie.com
 7          RAlmon-Griffin@perkinscoie.com
            JCarmody@perkinscoie.com
 8          RDegens@perkinscoie.com
 9
     Antoinette M. Davis, WSBA No. 29821
10   Nancy Talner, WSBA No. 11196
     Crystal Pardue, WSBA No. 54371
11   American Civil Liberties Union of Washington Foundation
     P.O. Box 2728
12   Seattle, WA 98111
     Telephone: 206.624.2184
13   Email: talner@aclu-wa.org
             tdavis@aclu-wa.org
14           cpardue@aclu-wa.org
15   Attorneys for Plaintiffs Selah Alliance for Equality, et al.
16

17

18

19

20

21

22

23

24

25

26

     NOTICE OF WITHDRAWAL – 1                                    AMERICAN CIVIL LIBERTIES UNION OF
     (No. 1:20-cv-03228)                                                 WASHINGTON FOUNDATION
                                                                                      P.O. BOX 2728
                                                                                 SEATTLE WA, 98111
                                                                                     (206) 624-2184
      Case 1:20-cv-03228-RMP         ECF No. 70   filed 09/10/21     PageID.1144 Page 2 of 4




 1                               THE HONORABLE JUDGE ROSANNA M. PETERSON
 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 8

 9
     SELAH ALLIANCE FOR                           No. 1:20-cv-03228
10   EQUALITY, COURTNEY
     HERNANDEZ, REV. DONALD                       NOTICE OF WITHDRAWAL
11   DAVIS JR., LAURA PEREZ,
     ANITA CALLAHAN, KALAH
12   JAMES, CHARLOTTE TOWN,
     AMANDA WATSON, and ANNA
13   WHITLOCK,
14                            Plaintiffs,
15          v.
16   CITY OF SELAH; SHERRY
     RAYMOND, in her official capacity
17   as Mayor of the City of Selah and in
     her individual capacity; DONALD
18   WAYMAN, in his individual
     capacity; and JOE HENNE, in his
19   official capacity as Interim City
     Administrator for the City of Selah;
20
                            Defendants.
21

22
           I, Crystal Pardue, hereby withdraw as counsel for Plaintiffs Selah Alliance
23
     for Equality, Courtney Hernandez, Rev. Donald Davis Jr., Laura Perez, Anita
24
     Callahan, Kalah James, Charlotte Town, Amanda Watson, and Anna Whitlock in
25
     this matter.
26

      NOTICE OF WITHDRAWAL – 2                                     AMERICAN CIVIL LIBERTIES UNION OF
      (No. 1:20-cv-03228)                                                  WASHINGTON FOUNDATION
                                                                                        P.O. BOX 2728
                                                                                   SEATTLE WA, 98111
                                                                                       (206) 624-2184
     Case 1:20-cv-03228-RMP    ECF No. 70   filed 09/10/21     PageID.1145 Page 3 of 4




 1        Dated this 10th day of September, 2021.
 2
                                    By: /s/ Crystal Pardue
 3                                  Crystal Pardue, WSBA No. 54371
                                    cpardue@aclu-wa.org
 4                                  American Civil Liberties Union of
                                    Washington Foundation
 5                                  P.O. Box 2728
                                    Seattle, WA 98111
 6                                  Telephone: 206.624.2184
 7
                                    Attorneys for Plaintiffs
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     NOTICE OF WITHDRAWAL – 3                                AMERICAN CIVIL LIBERTIES UNION OF
     (No. 1:20-cv-03228)                                             WASHINGTON FOUNDATION
                                                                                  P.O. BOX 2728
                                                                             SEATTLE WA, 98111
                                                                                 (206) 624-2184
      Case 1:20-cv-03228-RMP      ECF No. 70    filed 09/10/21     PageID.1146 Page 4 of 4




 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on September 10, 2021, I caused the foregoing to be
 3   electronically filed with the Clerk of the Court using the CM/ECF System, which
 4   will effectuate service of a copy of such filing to the following counsel/parties of
 5
     record:
 6

 7
     Attorneys for Defendants
 8   Christopher J. Kerley, WSBA No. 16489
     Evans, Craven & Lackie, P.S.
 9
     818 W. Riverside, Suite 250
10   Spokane, WA 99201-0910
     Telephone: 509.455.5200
11
     Facsimile: 509.455.3632
12   ckerley@ecl-law.com
13
     D.R. (Rob) Case, WSBA No. 34313
14   Larson Berg & Perkins PLLC
     105 North Third Street
15
     Yakima, WA 98901
16   Telephone: 509.457.1515
     Facsimile: 509.457.1027
17
     Rob@LBPlaw.com
18

19

20         DATED this 10th day of September, 2021.

21                                           /s/Tracie Wells
                                             Tracie Wells, Paralegal
22                                           twells@aclu-wa.org
                                             American Civil Liberties Union of
23                                           Washington Foundation
                                             P.O. Box 2728
24                                           Seattle, WA 98111
                                             Telephone: 206.624.2184
25

26

     NOTICE OF WITHDRAWAL – 4                                    AMERICAN CIVIL LIBERTIES UNION OF
     (No. 1:20-cv-03228)                                                 WASHINGTON FOUNDATION
                                                                                      P.O. BOX 2728
                                                                                 SEATTLE WA, 98111
                                                                                     (206) 624-2184
